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                                                                           SEP 0 1 2017
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                                                                           District Of Mont•ma
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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                      CR 17-15-BLG-SPW

                 Plaintiff,
                                                PLEA AGREEMENT
           vs.

 JOSE SOLTERO,

                 Defendant.


      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United

States, represented by Assistant U.S. Attorney John D. Sullivan, and the defendant,

Jose Soltero, and his attorney, Lance Lundvall, have agreed upon the following:

      1.    Scope:      This plea agreement is between the United States Attorney's


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Office for the District of Montana and the defendant.     It does not bind any other

federal, state or local prosecuting, administrative or regulatory authority, or the

United States Probation Office.

      2.     Charge:     The defendant agrees to plead guilty to the superseding

information, which charges conspiracy to possess with the intent to distribute and

to distribute methamphetamine, in violation of21 U.S.C. § 846.       The offense

carries a mandatory minimum punishment of five years of imprisonment to a

maximum punishment of 40 years of imprisonment, a $5,000,000 fine, at least four

years of supervised release, and a $100 special assessment.

      At the time of sentencing, the United States will move to dismiss the

indictment, if the Court accepts this plea agreement.

      3.     Nature of the Agreement:        The parties agree that this plea

agreement will be governed by:

      Federal Rule of Criminal Procedure l l(c)(l)(A).      The defendant

acknowledges that the agreement wili be fulfiiled provided that the United States

moves to dismiss, and the Court agrees to dismiss, the indictment.      The defendant

understands that if the agreement is accepted by the Court, there will not be an

automatic right to withdraw the plea.



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      Federal Rule of Criminal Procedure 1 l(c)(l)(B).       The defendant

acknowledges that this agreement will be fulfilled provided that the United States

makes the recommendations provided below.          The defendant understands that

even ifthe Court does not accept or follow the recommendations made by the

United States, there will not be an automatic right to withdraw the plea.    Fed. R.

Crim. P. 1 l(c)(3)(B).

      4.        Admission of Guilt:     The defendant will plead guilty because the

defendant is in fact guilty of the charge contained in the superseding information.

In pleading guilty, the defendant acknowledges that:

      First, beginning·in or about April 2016 and ending in or about
      October 2016, there was an agreement between two or more
      persons to possess with the intent to distribute 50 grams or
      more of a substance containing a detectable amount of
      methamphetamine; and

          Second, the defendant joined in the agreement knowing of its
          purpose and intending to help accomplish that purpose.

      To "possess with intent to distribute" means to possess with
      intent to deiiver or transfer possession of methamphetamine to
      another person, with or without any financial interest in the
      transaction.

          Additionally, while not a formal element of the offense, the
          government must prove beyond a reasonable doubt that the
          conspiracy involved 50 or more grams of a substance
          containing a detectable amount of methamphetamine.


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      5.       Waiver of Rights by Plea:

                (a)   The defendant is entitled to have the charge outlined in

paragraph 2, above, prosecuted by an indictment returned by a concurrence of 12

or more members of a legally constituted grand jury, consisting of not less than 16

and not more than 23 members.

               (b)    The government has a right to use against the defendant, in a

prosecution for perjury or false statement, any statement that the defendant gives

under oath during the plea colloquy.

               (c)    The defendant has the right to plead not guilty or to persist in a

plea of not guilty.

               (d)    The defendant has the right to a jury trial unless the defendant,

by written waiver, consents to a non-jury trial.     The government must also

consent and the Court must approve a non-jury trial.

               (e)    The defendant has the right to be represented by counsel, and if

necessary, have the court appoint counsel, at trial and at every other stage of these

proceedings.

               (f)    If the trial is a jury trial, the jury would be composed of 12

laypersons selected at random.      The defendant and defense attorney would have a

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say in who the jurors would be by removing prospective jurors for cause where

actual bias or other disqualification is shown, or without cause by exercising

peremptory challenges.     The jury would have to agree unanimously before it

could return a verdict of either guilty or not guilty.   The jury would be instructed

that the defendant is presumed innocent, and that it could not convict the defendant

unless, after hearing all the evidence, it was persuaded of the defendant's guilt

beyond a reasonable doubt.

             (g)     If the trial is held by the judge without a jury, the judge would

find the facts and determine, after hearing all the evidence, whether or not he was

persuaded of the defendant's guilt beyond a reasonable doubt.

             (h)     At a trial, whether by a jury or a judge, the government would

be required to present its witnesses and other evidence against the defendant.        The

defendant would be able to confront those government witnesses and the defense

attorney would be able to cross-examine them.        In tum, the defendant could

present witnesses and other evidence on the defendant's own behalf.         If the

witnesses for the defendant would not appear voluntarily, their appearance could

be mandated through the subpoena power of the Court.

             (i)     At a trial, there is a privilege against self-incrimination so that



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the defendant could decline to testify and no inference of guilt could be drawn

from refusal to testify.       Or the defendant could exercise the choice to testify on

his or her own behalf.

               G)         If convicted, and within 14 days of the entry of the Judgment

and Commitment, the defendant would have the right to appeal the conviction to

the United States Court of Appeals for the Ninth Circuit for review to determine if

any errors were made which would entitle the defendant to reversal of the .

conviction.

               (k)        The defendant has a right to have the district court conduct the

change of plea hearing required by Federal Rule of Criminal Procedure 11.             By

execution of this agreement, the defendant expressly waives that right and agrees

to hold that hearing before, and allow the Rule 11 colloquy to be conducted by, the

U.S. Magistrate Judge.

               (I)        If convicted in this matter, a defendant who is not a citizen of

the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

       The defendant tinderstands that by pleading guilty pursuant to this

agreement, defendant is waiving all the rights set forth in this paragraph.        The



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defendant's attorney has explained these rights and the consequences of waiving

these rights.

           6.    Recommendations:      Both parties recommend that the defendant's

base offense level should be 38, pursuant to USSG §§1Bl.3(a)(l)(A) and (B) and

2Dl.l(c)(l), and as proven by a preponderance of the evidence, as a consequence

of the relevant conduct underlying the defendant's offense of conviction, namely:

( 1) the amount of methamphetamine distributed and possessed with the intent to

distribute by the defendant and aided, abetted, counseled, commanded, induced,

procured, or willfully caused by the defendant; and (2) the amount of

methamphetamine distributed and possessed with the intent to distribute by others

which was reasonably foreseeable to the defendant and was part of jointly

undertaken criminal activity related to the defendant's offense of conviction.

           The United States will recommend the defendant's offense level be

decreased by two levels for acceptance of responsibility, under USSG §3El. l(a),

and will move for an additional one level, under USSG §3El.l(b), if appropriate

under the Guidelines, unless the defendant is found to have obstructed justice prior

to sentencing under USSG §3Cl.l, or acted in any way inconsistent with

acceptance of responsibility.     The parties reserve the right to make any other



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arguments at the time of sentencing. The defendant understands that the Court is

not bound by this recommendation.

            7.    Sentencing Guidelines:      Although advisory, the parties agree that

the U.S. Sentencing Guidelines must be applied, and a calculation determined, as

part of the protocol of sentencing to determine what sentence will be reasonable.

            8.    Waiver of Appeal of the Sentence:       The defendant acknowledges

that 18 U.S.C . § 3742 affords the right to appeal the sentence imposed in this case.

In consideration for the government's concessions in this agreement, the defendant

waives any and all right to directly appeal any aspect of the sentence, including

conditions of probatio~ or supervised release.

            The defendant also waives the right to challenge the sentence in a collateral

proceeding pursuant to 28 U.S.C. § 2255.          This waiver does not, however,

prohibit the right to pursue or maintain such an action alleging ineffective

assistance of counsel.

            9.    Loss of Federal Benefits: The defendant acknowledges, based on

his plea of guilty to a federal controlled substance crime, that he is no longer

eligible for assistance under any state program funded under Part A of Title IV of

the Social Security Act or benefits under the Food Stamp Act. 21 U.S.C. § 862a.



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The Court may also deny the defendant eligibility to participate in any federal

grant, contract, loan, professional license, or commercial license. 21 U.S.C.          §

862.

        10.   Voluntary Plea:      The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made to

induce the defendant to plead guilty, and this agreement is freely and voluntarily

endorsed by the parties.

        11.   Detention/Release After Plea:       Pursuant to 18 U.S.C.

§ 3143(a)(2), the defendant acknowledges that the defendant will be detained upon

conviction unless (A)(i) the Court finds there is a substantial likelihood that a

motion for acquittal or new trial will be granted or (ii) this agreement provides that

the United States will recommend that no sentence of imprisonment be imposed

and (B) the Court finds, by clear and convincing evidence, that the defendant is not

likely to flee or pose a danger to any other person or the community.     Then, if

exceptional circumstances exist, the defendant may be released upon conditions.

        12.   Breach:      If the defendant breaches the terms of this agreement, or

commits any new criminal offenses between signing this agreement and

sentencing, the U.S. Attorney's Office is relieved of its obligations under this



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        agreement.

                  13.   Entire Agreement: Any statements or representations made by the

        United States, the defendant, or defense counsel prior to the full execution of this

        plea agreement are superseded by this plea agreement. No promises or

        representations have been made by the United States except as set forth in writing

        in this plea agreement. This plea agreement constitutes the entire agreement

        between the parties. Any term or condition which is not expressly stated as part of

        this plea agreement is not to be considered part of the agreement.

                                                LEIF M. JOHNSON
                                                Acting United States Attorney


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                                                Assistant U.S. Attorney
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